       Case 17-12835-pmm                         Doc       Filed 10/10/24 Entered 10/10/24 14:44:19                       Desc Main
 Fill in this information to identify the case:
                                                           Document      Page 1 of 5
B 10 (Supplement 2) (12/11)            (post publication draft)
 Debtor 1              Zakiyyah L. Suluki
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________                      PA
                                                                District of __________
                                                                                (State)
 Case number            17-12835-pmm
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


 Name of creditor:                Mill City Mortgage Loan Trust 2019-GS2
                                  ______________________________________
                                                                                                                 Court claim no. (if known):
                                                                                                                 5
                                                                                                                 _________________
                                                                                          ******8984
                                                                                          ____  ____ ____ ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                4426 Overbrook Avenue
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Philadelphia                    PA    19131
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                 ____/_____/______
                                                                                    MM / DD / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)         4,278.06
                                                                                                                                 $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                 + (b) $ __________
                                                                                                                                        0.00

        c. Total. Add lines a and b.                                                                                       (c)         4,278.06
                                                                                                                                 $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                  08   01 2024
                                                                                    ____/_____/______
        due on:                                                                     MM / DD / YYYY


Form 4100R                                                  Response to Notice of Final Cure Payment                                   page 1
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Debtor 1        Zakiyyah L. Suluki
                _______________________________________________________                                           17-12835-pmm
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
       all payments received;
       all fees, costs, escrow, and expenses assessed to the mortgage; and
       all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                                /s/ Wendy Locke
                   __________________________________________________                         Date    10 10 2024
                                                                                                      ____/_____/________
                   Signature




 Print            Wendy         Locke
                  _________________________________________________________                   Title    Agent for Creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            Aldridge Pite, LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                   Number                 Street


                   San Diego                          CA 92108
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      858 _____–
                   (______) 750 _________
                                7600                                                                  wlocke@aldridgepite.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                                                                 Certificate of Service


I hereby certify that a copy of the foregoing Response to Notice of Final Cure Payment was served on the parties listed below by postage prepaid U.S.
Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered with the Court on

Date: October 10, 2024


 Chapter 13 Trustee:                   KENNETH E. WEST
 Trustee Address:                      Office of the Chapter 13 Standing Trustee
                                       1234 Market Street - Suite 1813
                                       Philadelphia, PA 19107
 Trustee Email:                        ecfemails@ph13trustee.com

 Debtor’s Counsel Name:                MICHAEL I. CIBIK
 Debtor’s Counsel Address:             Cibik Law, P.C.
                                       1500 Walnut St
                                       Ste 900
                                       Philadelphia, PA 19102
 Debtor’s Counsel Email:               help@cibiklaw.com

 Debtor 1 Name:                        Zakiyyah L. Suluki
 Debtor’s Mailing Address:             4426 Overbrook Avenue
                                       Philadelphia, PA 19131



                                                                                            /s/ Cecilia Metcalf
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                                DEBTOR:           Suluki
                          CASE NUMBER:        17-12835-pmm
                        DATE OF REVIEW:         10/8/2024
                          BK FILING DATE:       4/24/2017
                   DUE DATE AT FILING:
          SUSPENSE AT TIME OF FILING:
         Contractual Due Date               8/1/2024
                                                           POST-PETITION PAYMENT DEFAULT
                                            DATE DUE     THRU        # OF PMTS         MNT AMOUN TOTAL DUE
                                            8/1/2024 10/1/2024            3             $1,426.02     $4,278.06




                                                                   Delinquent Amount                  $4,278.06
                                                                   Less Debtor Suspense
                                                                   Total Delinquency                  $4,278.06

                                             Credit                                                    Debtor
                             Post Funds                 Post Due     Post-Peition         Post
Tran Type Date Received                      No PCH                                                   Suspense                 Comment
                              Received                    Date       Amount Due         Suspense
                                              Filed                                                    Balance


            2/25/2020        $1,206.00                 2/1/2020          $1,206.00                                  Loan Modification
            3/18/2020        $1,254.18                 3/1/2020          $1,254.18

            6/11/2020        $2,508.36                 4/1/2020          $1,254.18       $1,254.18      $1,254.18

            6/11/2020                                  5/1/2020          $1,254.18       -$1,254.18

            6/25/2020        $1,254.18                 6/1/2020          $1,254.18

            7/27/2020        $1,254.18                 7/1/2020          $1,254.18

            8/24/2020        $1,254.18                 8/1/2020          $1,254.18

            9/15/2020        $1,318.10                 9/1/2020          $1,318.10

            3/30/2021         $333.98                                                      $333.98        $333.98

            4/5/2021         $6,248.57                                                   $6,248.57      $6,582.55

           10/14/2020                                  10/1/2020         $1,254.18       -$1,254.18     $5,328.37

           11/12/2020                                  11/1/2020         $1,254.18       -$1,254.18     $4,074.19

            12/7/2020                                  12/1/2020         $1,254.18       -$1,254.18     $2,820.01

            3/9/2021                                   1/1/2021          $1,254.18       -$1,254.18     $1,565.83

            3/30/2021                                  2/1/2021            $982.53        -$982.53        $583.30

            4/12/2021        $1,316.51                 3/1/2021            $982.53         $333.98        $917.28

            4/30/2021         $500.00                  4/1/2021            $982.53        -$482.53        $434.75

            5/10/2021         $560.78                  5/1/2021            $982.53        -$421.75         $13.00

            6/14/2021         $982.53                  6/1/2021            $982.53                         $13.00

            7/22/2021        $1,381.60                 7/1/2021          $1,381.60                         $13.00

            8/16/2021        $1,381.60                 8/1/2021          $1,381.60                         $13.00

           10/12/2021        $1,381.60                 9/1/2021          $1,381.60                         $13.00

           10/26/2021         $690.50                                                      $690.50        $703.50

            11/8/2021         $730.00                  10/1/2021         $1,381.60        -$651.60         $51.90

            11/8/2021                                                         $38.57       -$38.57         $13.33

           12/15/2021        $1,381.60                                                   $1,381.60      $1,394.93

           12/22/2021                                  11/1/2021         $1,381.60       -$1,381.60        $13.33

            1/12/2022        $1,420.17                 12/1/2021         $1,420.17                         $13.33

            7/29/2022        $11,374.36                1/1/2022          $1,381.60       $9,992.76     $10,006.09
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   8/16/2022                       2/1/2022       $1,381.60   -$1,381.60    $8,624.49

   8/16/2022                       3/1/2022       $1,420.17   -$1,420.17    $7,204.32

   8/16/2022                       4/1/2022       $1,420.17   -$1,420.17    $5,784.15

   8/16/2022                       5/1/2022       $1,420.17   -$1,420.17    $4,363.98

   8/16/2022                       6/1/2022       $1,420.17   -$1,420.17    $2,943.81

   8/16/2022                       7/1/2022       $1,420.17   -$1,420.17    $1,523.64

   8/16/2022                       8/1/2022       $1,420.17   -$1,420.17     $103.47

   8/16/2022                                         $90.47      -$90.47      $13.00 Principal Only Pmt

   8/31/2022    $1,420.17          9/1/2022       $1,420.17                   $13.00

   12/12/2022   $1,420.17          10/1/2022      $1,420.17                   $13.00

    2/6/2023    $1,420.17          11/1/2022      $1,420.17                   $13.00

   3/13/2023    $1,421.24          12/1/2022      $1,420.17        $1.07      $14.07

   4/18/2023    $1,422.00          1/1/2023       $1,420.17        $1.83      $15.90

    7/7/2023     $850.00                                        $850.00      $865.90

    8/4/2023     $500.00                                        $500.00     $1,365.90

   10/5/2023     $276.75           2/1/2023       $1,421.24   -$1,144.49     $221.41

   11/21/2023    $400.00                                        $400.00      $621.41

   12/11/2023    $600.00                                        $600.00     $1,221.41

   12/5/2023    $12,821.18         3/1/2023       $1,421.24   $11,399.94   $12,621.35

   12/5/2023                       4/1/2023       $1,421.24   -$1,421.24   $11,200.11

   12/5/2023                        5/1/2023      $1,421.24   -$1,421.24    $9,778.87

   12/5/2023                        6/1/2023      $1,421.24   -$1,421.24    $8,357.63

   12/5/2023                        7/1/2023      $1,421.24   -$1,421.24    $6,936.39

   12/5/2023                        8/1/2023      $1,421.24   -$1,421.24    $5,515.15

   12/5/2023                        9/1/2023      $1,421.24   -$1,421.24    $4,093.91

   12/5/2023                       10/1/2023      $1,421.24   -$1,421.24    $2,672.67

   12/5/2023                       11/1/2023   $1,432.19      -$1,432.19    $1,240.48

   12/5/2023                                   $640.48          -$640.48     $600.00 Escrow

    2/5/2024     $826.02           12/1/2023   $1,426.02        -$600.00

    2/6/2024    $1,009.69                                      $1,009.69    $1,009.69

    3/6/2024     $416.33            1/1/2024   $1,426.02      -$1,009.69

    4/8/2024    $1,426.02           2/1/2024   $1,426.02

   5/13/2024    $1,426.02           3/1/2024   $1,426.02

    6/4/2024    $1,426.02           4/1/2024   $1,426.02

    7/8/2024    $1,426.02           5/1/2024   $1,426.02

   8/26/2024     $726.02                                        $726.02      $726.02

   8/30/2024     $700.00            6/1/2024   $1,426.02        -$726.02

    9/5/2024    $1,426.02           7/1/2024   $1,426.02




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